1
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6     Counsel to KURT MILLER,
      Movant.
7

8
                           THE UNITED STATES BANKRUPTCY COURT
9
                  NORTHERN DISTRICT OF CALIFORNIA-SAN JOSE DIVISION
10
      IN RE:                                             Case No. 18-51575 MEH
11

12           GLORIA CABRAL,                              Chapter 13

13                                                       STIPULATION BETWEEN MOVANT AND
                     Debtor.                             DEBTOR TO RESCHEDULE FINAL
14                                                       HEARING ON MOTION FOR RELIEF FROM
                                                         STAY
15

16                                                       [Property: 3474 Gila Drive, San Jose,
                                                         California 95148]
17
                                                         Hearing
18                                                       Date: November 28, 2018
                                                         Time: 9:00 a.m.
19                                                       Place: Courtroom 3020
                                                                 Federal Courthouse-San Jose
20                                                               280 South First Street
                                                         Judge: M. Elaine Hammond
21
22

23
             COMES NOW the debtor GLORIA CABRAL (debtor) and Creditor Moving
24
      party KURT MILLER (movant) with the following stipulation to reschedule the final
25
      hearing on movant’s motion for relief from the bankruptcy automatic stay:
26

27           It is stipulated and agreed that the final hearing be rescheduled from 9:00 a.m

28    November 28, 2018 to a date and time that is at least forty-five (45) days from the

      date of this stipulation.


Case: 18-51575    Doc# 62         Filed: 11/20/18   Entered: 11/20/18 10:16:07   Page 1 of 2
1
             It is further stipulated and agreed that the bankruptcy automatic stay pursuant
2
      to 11 U.S.C. § 362(a) is to remain in effect subject to further order of this court.
3

4

5     MOVANT KURT MILLER                                DEBTOR GLORIA CABRAL

6

7     By: /s/ Steven J. Sibley                     By: /s/ Linda Keny
8
      STEVEN J. SIBLEY                                  LINDA KENY
9
      Counsel for Movant                                Counsel for Debtor
10
      Dated: 11/20/18                                   Dated: 11/19/2018
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Case: 18-51575    Doc# 62     Filed: 11/20/18   Entered: 11/20/18 10:16:07      Page 2 of 2
